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 7
 8                 UNITED STATES DISTRICT COURT FOR THE
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11
     TESSIBLE “SKYLER” FOSTER;                 2:23-cv-07441-AB-PVC
12
     MARIE SCOTT; and KRISTA
13   BAUMBACH                                   DECLARATION IN SUPPORT
                                                OF UNOPPOSED MOTION FOR
14                                              PRELIMINARY APPROVAL OF
15               PLAINTIFFS,                    SETTLEMENT
16   V.
     800-FLOWERS, INC., D/B/A 1-800-
17   FLOWERS.COM, HARRY & DAVID,
18   PERSONALIZATION MALL,
     SHARI’S BERRIES, 1-800-
19
     BASKETS.COM, SIMPLY
20   CHOCOLATE, FRUIT
21   BOUQUETS.COM, CHERYL’S
     COOKIES, THE POPCORN
22   FACTORY, WOLFERMAN’S
23   BAKERY, AND VITAL CHOICE,
24
25               DEFENDANT.
26
27
28
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 1                    DECLARATION OF FRANK S. HEDIN IN
                 SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
 2            PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
 3
               I, Frank S. Hedin, declare under penalty of perjury, pursuant to 28 U.S.C. §
 4
 5    1746 and based on my own personal knowledge, that the following statements are
 6
      true:
 7
 8             1.    I am the founding partner at Hedin LLP and counsel of record for
 9    Plaintiffs in this action. I submit this declaration in support of Plaintiffs’ Motion for
10
      Preliminary Approval of Class Action Settlement filed concurrently.
11
12             2.    Prior to initiating any action against Defendant, my firm and I
13
      conducted a comprehensive pre-filing investigation concerning the specific factual
14
15    and legal issues underlying Plaintiffs’ claims. These extensive pre-filing efforts
16
      included:
17
18             • Researching the nature of Defendant’s business and its practices
                 with respect to the sales, presentation of autorenewal terms, and
19               autorenewal of its Celebrations Passport at various times and
20               across various sales channels and brands;
21
               • Interviewing numerous California consumers who purchased the
22               Celebrations Passport from the Defendant during the statutory
23               period, including interviewing them about their process of
                 purchasing the Celebrations Passport, any disclosures they
24               received or agreed to during the purchase process, and any notices
25               of renewals they subsequently received;
26
               • Collecting and reviewing documents from numerous individuals
27
                 who purchased the Celebrations Passport, including documents
28               spanning multiple years;
                                           1
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 1
            • Researching and analyzing Defendant’s subscription terms,
 2            renewal procedures, and renewal notice procedures for its
 3            Celebrations Passport;
 4
            • Analyzing versions of Defendant’s websites across different
 5            devices, Privacy Policy, Terms of Service, and other public
 6            documents on its websites during the relevant time period,
              including archived versions of webpages;
 7
 8          • Researching the relevant law and assessing the merits of a
              potential claim under California’s Automatic Renewal Law
 9
              (“ARL”), Cal. Bus. & Prof. Code §§ 17600, et seq., against
10            Defendant and defenses that Defendant might assert; and
11
            • Researching the applicable limitation period for violations of
12            California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof.
13            Code §§ 17200, et seq. and False Advertising Law (“FAL”), Cal.
              Bus. & Prof. Code §§ 17500, et. seq. and other potential defenses.
14
15
            3.    As a result of this thorough pre-filing investigation, proposed Class
16
17    Counsel was able to develop a viable theory of liability for an ARL claim against
18    Defendant and prepare a thorough complaint against Defendant.
19
            4.    On April 20, 2023, my firm filed an initial complaint on behalf of
20
21    plaintiff Damon Tate, in the Superior Court of Los Angeles County styled Tate v.
22
      800-Flowers, Inc, alleging Defendant violated California’s ARL in connection with
23
24    its Celebrations Passport membership program. On June 1, 2023, after conducting
25    additional investigation and interviewing more of Defendant’s customers, my firm
26
27    filed an amended complaint, adding plaintiffs Natasha Paracha, Ian Chen, Brittany

28    Mansfield, and Alba Vargas.
                                       2
          DECLARATION IN SUPPORT OF UNOPPOSED MOTION FOR PRELIMINARY
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 1          5.     Defendant then removed the case to the Central District of California,

 2    causing the case to be re-captioned as 2:23-cv-04340-AB-PVC. Defendant thereafter
 3
      filed a motion to compel plaintiffs to arbitration and alternatively moved to dismiss
 4
 5    the claims of four of the five representative plaintiffs for lack of standing. (Tate, ECF
 6
      No. 16).
 7
 8          6.     Our investigation continued while Defendant’s motion to compel
 9    arbitration and to dismiss filed in the Tate action was pending.
10
            7.     The Tate plaintiffs elected to dismiss their action without prejudice on
11
12    September 6, 2023. (Tate, ECF No. 22).
13
            8.      On September 7, 2023, plaintiffs Tessible “Skyler” Foster, Anayancy
14
15    Paiz, Susan Finkbeiner, and Larissa Rapadas filed the initial class action complaint
16
      in this Action, which, like the Tate action, alleged that Defendant violated the ARL
17
18    in connection with its Celebrations Passport membership program. (See ECF No.

19    1). On November 14, 2023, Defendant moved to compel Ms. Paiz and Ms. Rapadas
20
      to arbitrate their claims, arguing that the desktop computer purchase interface Ms.
21
22    Paiz and Ms. Rapadas used to buy Celebrations Passport bound them to arbitrate.
23
      (ECF No. 14). Defendant also sought a stay of the case pending final resolution of
24
25    the arbitrations and, in the same motion, Defendant moved to dismiss Ms. Finkbeiner
26    for lack of standing. (Id.)
27
            9.     On December 5, 2023, plaintiffs filed a first amended complaint. (ECF
28
                                        3
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 1    No. 20). The first amended complaint retained plaintiffs Foster, Paiz, and Rapadas

 2    as representative plaintiffs, added plaintiffs Marie Scott and Krista Baumbach, and
 3
      added as representative plaintiffs Kimberly Moore Keller and Latricia Anderson
 4
 5    Thompson. (Id.)
 6
            10.    On January 18, 2024, Defendant filed a motion to compel to arbitration
 7
 8    five of the seven representative plaintiffs—Anayancy Paiz, Larissa Rapadas,
 9    Kimberly Moore Keller, Latricia Anderson Thompson, and Marie Scott. Defendant
10
      also sought a stay of the case pending final resolution of the arbitrations, and
11
12    separately moved to dismiss Kimberly Moore Keller and Latricia Anderson
13
      Thompson for lack of standing. (ECF No. 27). With respect to the motion to compel
14
15    arbitration, Defendant renewed its argument that the desktop computer and Android
16
      mobile platform channels Ms. Paiz, Ms. Rapadas, Ms. Moore Keller, Ms.
17
18    Thompson, and Ms. Scott used to purchase Celebrations Passport clearly and

19    conspicuously presented an agreement to arbitrate. (Id.). Contemporaneously,
20
      Defendant answered the first amended complaint as to plaintiffs Foster and
21
22    Baumbach. (ECF No. 28).
23
             11.   The Parties extensively conferred on this second motion to compel
24
25    arbitration. Based on the conferral, and my firm’s ongoing investigation, plaintiffs
26    sought leave to file the operative second amended complaint, which brought a claim
27
      on behalf of representative Plaintiffs Foster, Scott, and Baumbach only, and that
28
                                        4
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 1    alleged Defendant violated California’s ARL through its telephone sales channel in

 2    addition to its violation of the ARL vis-à-vis the sales of Celebrations Passport
 3
      completed via the internet. (ECF No. 35).
 4
 5            12.   The Court granted Plaintiffs leave to file the operative second amended
 6
      complaint, which Plaintiffs filed on April 12, 2024.1(ECF No. 45).
 7
 8            13.   On May 10, 2024, Defendant filed a third motion to compel arbitration
 9    as to plaintiffs Scott and Baumbach, to stay the case pending the outcome of the
10
      arbitration, and alternatively to dismiss Ms. Baumbach for lack of standing. (ECF
11
12    No. 46).
13
              14.   Plaintiffs served requests for production and interrogatories on May 28,
14
15    2024.
16
              15.   In response to Defendant’s Motion to Compel Arbitration as to Ms.
17
18    Baumbach, Plaintiffs engaged a web design expert to evaluate Defendant’s claim

19    that the mobile flow which Ms. Baumbach used to purchase Celebrations Passport
20
      put purchasers on inquiry notice of the site Terms and Conditions which contained
21
22    an arbitration provision. Additionally, Plaintiffs sought, and obtained leave from the
23
      Court to postpone the hearing on the Motion to Compel Arbitration to conduct
24
25    discovery on the issues raised in the motion, specifically on the existence of a
26    recording of Ms. Scott purchasing Celebrations Passport via Defendant’s telephone
27
28
      1
          The SAC also removed the FAL claim and proceeded with the UCL claim only.
                                          5
             DECLARATION IN SUPPORT OF UNOPPOSED MOTION FOR PRELIMINARY
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 1    order platform, Defendant’s data retention policy for recordings of phone calls which

 2    Defendant claimed it did not have, and the online purchase flow used by Ms.
 3
      Baumbach to purchase Celebrations Passport.
 4
 5          16.    The Parties’ negotiations about the scope and conduct of discovery in
 6
      early-June led to the first settlement discussions in the case. By mid-June, the Parties
 7
 8    had agreed to engage a mediator and to complete mediation by September 1, 2024.
 9    Plaintiffs at all times conditioned their participation in the mediation on receiving
10
      information from Defendant concerning the number of customers who used the
11
12    various sales channels used by the representative plaintiffs—online, mobile, and 1-
13
      800 hotline—and the number of non-refunded autorenewals corresponding to each.
14
15          17.    To facilitate the mediation, and with the aim of resolving the case in the
16
      most efficient manner possible, the Parties stipulated to extend all deadlines
17
18    pertaining to the pending motion to compel arbitration by 90 days, and all other case

19    management deadlines, including trial, by 180 days. (ECF No. 52). The Court
20
      accepted and entered the stipulation on June 20, 2024. (ECF No. 53).
21
22          18.    Defendant timely provided the required pre-mediation information, and
23
      on July 24, 2024, the Parties attended a full-day mediation with Jill Sperber, Esq. of
24
25    Judicate West. Ms. Sperber was selected because of her extensive experience in
26    mediating and successfully resolving complex class actions, including consumer
27
      class actions.
28
                                        6
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 1          19.    Prior to the mediation, the Parties provided Ms. Sperber with mediation

 2    position statements on a confidential basis. Plaintiffs’ statement set forth their
 3
      evaluation of the case, including their prospects for prevailing on the pending motion
 4
 5    to compel arbitration in light of consulting with their expert, their assessment of
 6
      prevailing on the motion to dismiss Ms. Baumbach for lack of standing, and the high
 7
 8    likelihood of certifying a class. Armed with the number of customers and number
 9    of renewals, Plaintiffs were further able to make a cogent, good faith assessment of
10
      the range of potential damages which informed the settlement negotiations.
11
12          20.    The mediation concluded with the proposed Settlement and the Parties’
13
      execution of a binding term sheet.
14
15          21.    The resulting $1,200,000, non-reversionary proposed Settlement
16
      secures a very strong result for the estimated 112,000 California consumers who are
17
18    members of the Settlement Class. Each Settlement Class Member who does not opt

19    out will automatically receive, without the need to file a claim form, an estimated
20
      $6.91-$6.99 which is an appropriate figure considering that the Settlement Class
21
22    Members are receiving this value over the benefits received from purchasing
23
      Celebrations Passport. Settlement Shares shall be paid by default to a Zelle account
24
25    linked to the email address the Settlement Class Member most recently used to
26    renew Celebrations Passport, or, if Zelle is unavailable, via an electronic MasterCard
27
28
                                        7
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 1    gift card sent to that same email address. On the Settlement Class Member’s election

 2    on the Settlement Website, a Settlement Share may be paid by paper check.
 3
               22.   Plaintiffs estimate the potential liability Defendant faced had the
 4
 5    Proposed Settlement not been reached as $5,544,000, which assumes 1.5 automatic
 6
      renewals per Settlement Class Member at approximately $33.00 per renewal, which
 7
 8    includes sales tax.2 Defendant would have certainly argued that only a single
 9    renewal was compensable because the customer would have been on notice of the
10
      automatic renewal of Celebrations Passport. Under this scenario, the anticipated
11
12    damages would be $3,696,000. As a point of comparison, the highest theoretical
13
      liability would be $14,784,000, which assumes four renewals for every member of
14
15    the Settlement Class, e.g., one each year of the class period, a figure which is
16
      impossible given that most members of the Settlement Class paid one or two renewal
17
18    fees.

19             23.   In the weeks following the mediation, the Parties negotiated and
20
      finalized the Settlement Agreement, attached as Exhibit 1, and jointly interviewed
21
22    and selected a proposed Settlement Administrator—Kroll Settlement Administration
23
24
25    2
        For the purposes of estimating liability and the strength of recovery, the
26    undersigned has assumed one email address per Settlement Class Member linked to
      a Celebrations Passport account. However, some Settlement Class Members’
27
      Celebrations Passport accounts were associated with more than one email address,
28    so it is likely there are fewer Settlement Class Members than email addresses.
                                           8
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 1   LLC (“Kroll”). Kroll’s bid proposal provided for every aspect of the proposed notice

 2   plan and was in line with that of similar class action settlement administrators. A
 3
     true and correct copy of the estimate for Kroll to perform its duties as Settlement
 4
 5   Administrator is attached hereto as Exhibit 2. The Parties also worked together to
 6
     finalize the Class List. Pursuant to the Parties’ binding term sheet agreement,
 7
 8   Defendant provided Plaintiffs a confirmatory sworn declaration which attested to the
 9   class size, sales channel, and class period information.
10
           24.    The Parties agreed to the terms of the Settlement through experienced
11
12   counsel who possessed all the information necessary to evaluate the case, determine
13
     all the contours of the proposed class, and reach a fair and reasonable compromise
14
15   after negotiating the terms of the Settlement at arm’s length and with the assistance
16
     of a neutral mediator. My firm worked extensively with Defense Counsel and, where
17
18   needed, Kroll to finalize and memorialize the agreement into a formal class action

19   Settlement Agreement, including proposed Class Notice documents. That process
20
     included rounds of revisions.
21
22         25.    Plaintiffs and Class Counsel recognize that, despite our belief in the
23
     strength of Plaintiffs’ claims, the expense, duration, and complexity of protracted
24
25   litigation would be substantial and the outcome uncertain in light of the significant
26   risks of non-recovery posed by continued litigation.
27
           26.    Indeed, had this litigation continued, Plaintiffs and Settlement Class
28
                                       9
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 1   Members would have faced several significant risks of total non-recovery, on

 2   questions concerning the merits of the claims and the ability of Plaintiffs to certify a
 3
     class.
 4
 5            27.   In particular, from the outset of the case, Plaintiffs and proposed Class
 6
     Counsel recognized that the case presented a substantial risk pertaining to whether
 7
 8   Defendant could compel Plaintiffs to arbitration. As described above, my firm
 9   persisted in pursuing the case through multiple motions to compel, and several
10
     iterations of the complaint, consistently refining the claims through ongoing
11
12   investigation.
13
              28.   Additionally, absent the Settlement, Defendant (through its highly
14
15   experienced attorneys) indicated that it would have defended against Plaintiffs’
16
     claims by arguing that Defendant complied with requirements of California’s ARL
17
18   or substantially complied in good faith, that Plaintiffs and the class members waived

19   their right to seek relief by making voluntary repeated payments, and that a class
20
     could not be certified because of individualized issues such as whether class
21
22   members assented to arbitration. Defendant would have continued to mount a
23
     vigorous defense at trial and beyond, including in any appeal from an adverse
24
25   judgment or an order certifying a class, and that Defendant would argue—in both
26   the trial and appellate courts—for a reduction of any class-wide damages award on
27
     substantive due process grounds.
28
                                      10
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 1          29.    Following execution of the Settlement Agreement, our firm prepared

 2   Plaintiffs’   Motion     for   Preliminary     Approval,     which     is   being    filed
 3
     contemporaneously herewith.
 4
 5                 FAIRNESS & ADEQUACY OF THE SETTLEMENT
 6
            30.    Plaintiffs and proposed Class Counsel believe that the relief provided
 7
 8   by the Settlement weighs heavily in favor of a finding that the Settlement is fair,
 9   reasonable, and adequate, and well within the range of approval.
10
            31.    In this litigation, Plaintiffs contributed substantial effort to advance the
11
12   interests of the Settlement Class. Specifically, Plaintiffs worked with proposed Class
13
     Counsel to detail their subscription and purchase history, including how they
14
15   subscribed to the Celebrations Passport and their knowledge of Celebrations
16
     Passport’s terms and conditions. Each of the Plaintiffs searched their bank records,
17
18   product order histories with Defendant and its brands, and their communications

19   with Defendant. Moreover, Plaintiffs worked with proposed Class Counsel to
20
     prepare the complaints, carefully reviewed the complaints for accuracy, and
21
22   approved them before they were filed.
23
            32.    Plaintiffs filed this case knowing it would cause their names to be
24
25   associated with litigation. Plaintiffs kept in regular contact with proposed Class
26   Counsel, including on matters of strategy, discovery, mediation, and the prospects
27
     of settlement and were prepared to testify at deposition and trial, if necessary.
28
                                      11
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 1         33.    I am of the opinion that Plaintiffs’ active involvement in this case was

 2   critical to its ultimate resolution. They took their role as class representatives
 3
     seriously, devoting time and effort to protecting the interests of the class. Without
 4
 5   their willingness to assume the risks and responsibilities of serving as class
 6
     representatives, I do not believe such a strong result could have been achieved.
 7
 8                             HEDIN LLP’S EXPERIENCE
 9         34.    Based in Miami, Florida, Washington, D.C., and San Francisco,
10
     California, Hedin LLP focuses on consumer and data privacy class actions and has
11
12   successfully prosecuted dozens of such matters in state and federal courts as court-
13
     appointed class counsel. E.g., Schreiber et al. v. Mayo Foundation for Medical
14
15   Education & Research, No. 22-cv-00188 (W.D. Mich.) (class counsel in action
16
     alleging unauthorized disclosure of consumers’ purchase information in violation of
17
18   state statute, negotiated $52.5 million all-cash non-reversionary settlement for

19   class); Kokoszki v. Playboy Enterpises, Inc., No. 19-cv-10302-BAF (E.D. Mich.)
20
     (class counsel in action alleging sale of Playboy subscribers’ personal information
21
22   in violation of the Michigan PPPA, obtained $3.8 million non-reversionary class
23
     settlement); Rivera et al. v. Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty.
24
25   Ill., Apr. 5, 2022) (class counsel in action alleging violations of Illinois’s Biometric
26   Information Privacy Act (“BIPA”), obtained $100 million non-reversionary class
27
     settlement); Olsen, et al. v. ContextLogic Inc., No. 19CH06737 (Cir. Ct. Cook Cnty.
28
                                      12
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 1   Ill., Jan 7, 2020) (class counsel in action alleging violations of the of the federal

 2   Telephone Consumer Protection Act (“TCPA”), successfully defeated defendant’s
 3
     motion to compel arbitration and obtained $16 million non-reversionary class
 4
 5   settlement); Donahue v. Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook
 6
     Cnty., Ill. Cir. Ct.) (class counsel in action alleging disclosure of consumers’ credit
 7
 8   and debit card information on printed transaction receipts in violation of the federal
 9   Fair and Accurate Credit Transactions Act, obtained $14 million non-reversionary
10
     class settlement); Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614-
11
12   MGC (S.D. Fla.) (class counsel in action alleging the improper assessment of
13
     overdraft fees when accounts were not actually overdrawn, obtained $4.95 million
14
15   class settlement); Liggio v. Apple Federal Credit Union, No. 18-cv-1059-LO (E.D.
16
     Va.) (class counsel in action alleging the improper assessment of overdraft fees for
17
18   “non-recurring” debit card transactions misclassified as “recurring” debit card

19   transactions, obtained $2.7 million class settlement). Over the past five years alone,
20
     my firm has recovered over $400 million in all-cash relief for the classes we have
21
22   represented. See Firm Resume of Hedin LLP, a true and accurate copy of which is
23
     attached hereto as Exhibit 3.
24
25
26
27
28
                                      13
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 1         I declare under penalty of perjury that the above and foregoing is true and

 2   accurate.
 3
           Executed this 30th day of August 2024 at Miami, Florida.
 4
 5                                              /s Frank S. Hedin
 6                                                 Frank S. Hedin
 7                                                 HEDIN LLP
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